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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA
v.                                                  NO. 96-CR-176
ARISTEDE JOHNSON


     RESPONSE TO DEFENDANT’S MOTION FOR COMPASSIONATE
                         RELEASE

       The United States of America asks the Court to deny the defendant’s

compassionate-release motion, which is based on COVID-19 concerns, for the

reasons that follow.

1.     Factual Background

       On July 18 and August 26, 1996, Aristede Johnson and two codefendants

robbed two credit unions. Johnson’s codefendant Pedro Sanchez carried and pointed

a gun during the robberies while Johnson stole money from the credit union

employees and customers. No shots were fired. The third codefendant obtained the

vehicles used during the robberies. The other two conspirators pled guilty and only

Johnson proceeded to trial. On January 28, 1997, a jury convicted Johnson on one

count of conspiracy to rob a federally insured credit union, two counts of aiding and

abetting armed robbery of a federally insured credit union, two counts of aiding and

abetting the use/carry of a firearm during a crime of violence. The district court

sentenced Johnson to a total of 370 months’ incarceration (stacking the two 924c

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convictions resulting in a sentence of 25 years for those two counts).

       Argument and Authorities

       While the defendant has a relatively exemplary prison record and has served

a large portion of his sentence for two violent acts – the armed robberies of two

credit unions – his motion fails on the merits, for the following three reasons.

       1. COVID-related concerns alone do not constitute extraordinary and
       compelling reasons for relief

       The defendant’s COVID-related concerns do not constitute extraordinary and

compelling reasons under the compassionate-release statute. Section 3582(c)(1)(A)

provides that any reduction must be “consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

       The applicable policy statement, USSG § 1B1.13, provides no basis for a

sentence reduction based on COVID-19. Rather, the policy statement allows a

reduction for “extraordinary and compelling reasons” only if the reasons are

“consistent with this policy statement.” USSG §§ 1B1.13(1)(A) & (3). Application

note 1 to the policy statement then explains that “extraordinary and compelling

reasons exist under any of the circumstances set forth below,” which include only

(a) a defendant suffering from a terminal illness or other medical condition “that

substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to

recover;” (b) a defendant who is at least 65 years old and “is experiencing a serious

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deterioration in physical or mental health because of the aging process” and “has

served at least 10 years or 75 percent of his or her term of imprisonment, whichever

is less;” (c) a defendant who has minor children without a caregiver or with an

incapacitated spouse or partner who needs the defendant to be the caregiver; or (d)

“[a]s determined by the Director of the Bureau of Prisons, . . . an extraordinary and

compelling reason other than, or in combination with, the [above] reasons.” USSG

§ 1B1.13, comment. (n.1).

       The defendant does not present any extraordinary or compelling reasons to

support his release. The defendant, who is 50 years of age, suffered exposure to

tuberculosis in the past but he received treatment for it and recovered from it. This

disease does not meet the standard of a condition “that substantially diminishes the

ability of the defendant to provide self-care within the environment of a correctional

facility and from which he or she is not expected to recover.” He claims that he is

in a facility with a high incidence of COVID-19 but refused to be tested for it. In

any event, prison staff acted out of an abundance of caution and quarantined him to

keep him safe. There is no indication in any medical record or from the defendant

that his isolation failed to protect him.

       The defendant has been incarcerated for over 24 years and has a remarkably

clean record while incarcerated. He was sentenced to 370 months and has a

projected release date in December 2023. Other than a report for “unsanitary”


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conditions, the defendant has no incident reports and has apparently adjusted well to

prison life. The defendant claims that if he is released early, he will be under the

supervision of his brother, a veteran in the Houston Fire Department.

        With regard to the last consideration relating to extraordinary and compelling

reasons, BOP has issued a regulation defining its own consideration of

compassionate-release requests. See BOP Program Statement 5050.50, available at

https://www.bop.gov/policy/progstat/5050_050_EN.pdf. This program statement

was amended effective January 17, 2019, following the First Step Act’s passage. It

sets forth in detail BOP’s definition of the circumstances that may support a request

for compassionate release, limited to the same bases the Sentencing Commission

identified: serious medical condition, advanced age, and family circumstances. 1

        Neither the policy statement nor the BOP regulation provides any basis for

compassionate release based on general COVID-19 concerns. Rather, the grounds

for compassionate release the Commission identified are all based on inherently

individual circumstances—health, age, and family responsibilities—and nothing

remotely comparable to the general COVID-19 concerns that thousands of offenders



1 The defendant might argue that the policy statement is only advisory, but that is incorrect. The policy
statement is binding under the express terms of Section 3582(c)(1)(A), and because it concerns only
possible sentence reductions, not increases, it is not subject to the rule of Booker v. United States, 543 U.S.
220 (2005), that any guideline that increases a sentence must be deemed advisory. See Dillon v. United
States, 560 U.S. 817, 830 (2010) (making clear that the statutory requirement in Section 3582 that a court
heed the restrictions stated by the Sentencing Commission is binding).



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could cite in compassionate-release motions. On this basis, at least one district court

has already denied a defendant’s compassionate-release motion. See United States

v. Eberhart, No. 13-cr-00313, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020)

(“As defendant does not assert that he is suffering from a medical condition as

defined in U.S.S.G. § 1B1.13, a reduction of sentence due solely to concerns about

the spread of COVID-19 is not consistent with the applicable policy statement of the

Sentencing Commission as required by § 3582(c)(1)(A).”). Similarly, Mr. Johnson

does not assert that he is suffering from any medical conditions that place him in a

particularly vulnerable class nor has the BOP found a compelling reason to justify

his request.

       2. Defendant has not shown that BOP is incapable of managing the
          COVID-19 pandemic so that release is warranted

       Even if COVID-19 concerns were to qualify as extraordinary and compelling

circumstances under the policy statement, the defendant has not shown that the BOP

is incapable of managing the situation such that release is warranted. The BOP is

monitoring the situation on a daily—even hourly—basis, and it has taken aggressive

action to mitigate any health risks for prisoners. 2 Indeed, Mr. Johnson’s situation

clearly shows that BOP has taken aggressive steps to mitigate any COVID-19

outbreaks. When BOP realized the Federal Medical Center in Fort Worth had an

2The following information comes from https://www.bop.gov/resources/news/20200313_covid-19.jsp and
https://www.bop.gov/coronavirus/index.jsp.



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outbreak, BOP attempted to test the defendant. When he refused to be tested, BOP

took the steps to quarantine Mr. Johnson for two weeks for his own protection and

to protect others in the event he had been exposed to the virus.

       BOP has been planning for potential COVID-19 transmissions since January.

At that time, the agency established a working group to develop policies in

consultation with subject matter experts in the Centers for Disease Control, including

by reviewing guidance from the World Health Organization. Since then, BOP has

modified its operations and implemented a multi-phase action plan to minimize the

risk of COVID-19 transmission into and inside its facilities. Information about the

action plan and BOP’s response to COVID-19 is updated daily at BOP’s website—

          • COVID-19 Resource Page:
            https://www.bop.gov/coronavirus/

          • COVID-19 Action Plan:
            https://www.bop.gov/resources/news/20200313_covid-19.jsp

          • BOP Modified Operations:
            https://www.bop.gov/coronavirus/covid19_status.jsp

          • COVID-19 Action Plan Phase Seven:
            https://www.bop.gov/resources/news/20200520_covid-
            19_phase_seven.jsp

       On May 18, 2020, the Director of the Bureau of Prisons (BOP) ordered the

implementation of Phase 7 of its COVID-19 Action Plan. This phase extends all

measures from Phase 6, to include measures to contain movement and decrease the

spread of the virus. The Phase 7 Action Plan will remain in place through June 30,


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2020, at which time the plan will be evaluated. At the end of that period, the decision

will be reevaluated to determine whether to continue the Phase 7 measures, which

include:

           • Screening of Inmates and Staff: All new BOP inmates are screened for
             COVID-19 symptoms and risk of exposure. Asymptomatic inmates
             with exposure risk factors are quarantined; symptomatic inmates with
             exposure risk factors are isolated and tested for COVID-19 pursuant to
             local health authority protocols. In areas with sustained community
             transmission, all facility staff will be screened for self-reported risk
             factors and elevated temperatures. Moreover, BOP staff registering a
             temperature of 100.4 degrees (or higher) will be barred from the facility
             on that basis alone.

           • Quarantine Logistics: The Action Plan directs all BOP institutions to
             assess their stockpiles of food, medicines, and sanitation supplies and
             to establish quarantine areas within their facilities to house any
             detainees who are found to be infected with or at heightened risk of
             being infected with COVID-19 under the screening protocol outlined
             above.

           • Suspension of Social Visits and Tours: Social visits have been
             suspended. To ensure that familial relationships are maintained, BOP
             has increased detainees’ telephone allowance to 500 minutes per
             month. Tours of facilities have also been suspended for at least the next
             30 days.

           • Suspension of Legal Visits: BOP also has placed a 30-day hold on legal
             visits, though such visits will be permitted on a case-by-case basis after
             the attorney has been screened for infection under the screening
             protocol outlined above.

           • Suspension of Inmate Movements: Inmate movement is suspended with
             limited exceptions, including transfers related to forensic studies, writs,
             Interstate Agreements on Detainers (IAD), medical or mental health
             reasons (including local medical trips), and Residential Reentry Center
             placements. To be approved for travel under one of the exceptions,
             inmates must have been in BOP custody for more than 14 days. They


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               must also undergo an exit screening for COVID-19 symptoms (fever,
               cough, shortness of breath and temperature). ◦If the inmate has no
               symptoms and a temperature less than 100.4 degrees F, the inmate will
               be transferred. If the inmate has COVID-19 symptoms, or temperature
               greater than 100.4 degrees F, they will not be transferred and will
               instead be immediately placed in isolation. All inmate movement under
               these exceptions is to be tracked and monitored.

           • Modified Operations: Finally, the Action Plan requires wardens at
             BOP facilities to modify operations in order to maximize social
             distancing.

       Taken together, these measures are designed to sharply mitigate the risks of

COVID-19 transmission in a BOP institution. BOP professionals will continue to

monitor this situation and adjust its practices as necessary to maintain the safety of

prison staff and inmates while also fulfilling its mandate of incarcerating all persons

sentenced or detained based on judicial orders.

       Moreover, per the Attorney General’s instruction, the BOP is also prioritizing

the use of BOP’s various statutory authorities (such as 18 U.S.C. § 3624(c)(2) and

34 U.S.C. § 60541(g)) to grant home confinement in appropriate circumstances for

inmates seeking transfer in connection with COVID-19. 3 Per this procedure, if the

defendant is statutorily eligible for home confinement and meets certain other

criteria, before the BOP grants discretionary release, a BOP Medical Director will

“make an assessment of the inmate’s risk factors for severe COVID-19 illness, risks

of COVID-19 at the inmate’s prison facility, as well as the risks of COVID-19 at the

3This information comes from the publicly available memorandum from the Attorney General to the BOP
Director, available at https://www.justice.gov/file/1262731/download.


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location at which the inmate seeks home confinement.”

       Given all of the above, judicial action is unnecessary—and, in fact, it would

be detrimental to this process as it would inevitably result in scattershot treatment of

inmates in contravention to the BOP’s organized, comprehensive approach of

granting home confinement under consistent criteria to eligible inmates in its

custody. As just outlined, the BOP is also employing practices to keep the prison

population at low risk for COVID-19 spread. Accordingly, the government opposes

judicial action in individual cases such as this.

       The Fifth Circuit has already denied prisoners’ motions for bail pending

appeal that rested on COVID-19 concerns. See United States v. Anderson, Fifth Cir.

No. 19-10963 (3/19/20 & 3/23/20 orders). District courts in other districts have also

denied similar motions. See, e.g., United States v. Gileno, No. 3:19-cr-161, 2020

WL 1307108 (D. Conn. Mar. 19, 2020); United States v. Cohen, No. 18-cr-602, 2020

WL 1428778 (S.D.N.Y. Mar. 24, 2020). As the Gileno court reasoned:

       With regard to the COVID-19 pandemic, Mr. Gileno has . . . not shown
       that the plan proposed by the Bureau of Prisons is inadequate to manage
       the pandemic within Mr. Gileno’s correctional facility, or that the
       facility is specifically unable to adequately treat Mr. Gileno. The Court
       takes judicial notice of the fact that public health recommendations are
       rapidly changing. But at this time the Court cannot assume that the
       Bureau of Prisons will be unable to manage the outbreak or adequately
       treat Mr. Gileno should it emerge at his correctional facility while he is
       still incarcerated.

Gileno, 2020 WL 1307108, at *4 (citation omitted). In sum, this Court should


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recognize what other courts have held that § 3582 contemplates the compassionate

release for specific individuals, not the widespread prophylactic release of inmates

and the modification of lawfully-imposed sentences to deal with a world-wide viral

pandemic.

       3. Defendant fails to demonstrate he qualifies for compassionate release
       pursuant to § 3582 and § 1B1.13.

       As a matter of law and policy, the defendant fails to qualify for compassionate

release because he is not subject to a terminal or serious illness as defined by § 3582,

his age does not place him in a high-risk category, and his alleged increased risk of

contracting COVID-19 because of past tuberculosis exists whether or not he is

incarcerated. See, e.g., United States v. Clark, 2020 WL 1557397 (M.D.LA. Apr. 1,

2020) (denying compassionate release because of COVID-19 to prisoner over 60).

Nevertheless, he argues that his medical condition when combined with the COVID-

19 pandemic present “extraordinary and compelling reasons” to justify his

immediate release.

       The defendant raises no claim that he is terminally or seriously ill, nor is he

“experiencing a serious deterioration in physical or mental health because of the

aging process.” USSG § 1B1.13. The defendant is a 50-year-old male with past

exposure to tuberculosis. Nothing described in the defendant’s motion rises to the

level of “an extraordinary and compelling reason” as defined by § 1B1.13 because

his claims do not “substantially diminish [] [his] ability to provide self-care within

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the environment of a correctional facility and from which…he is not expected to

recover,” nor do his claims demonstrate “a serious deterioration in physical or

mental health because of the aging process.” USSG § 1B1.13. See United States v.

Lee, 2020 WL 3051055 (E.D. Tx. June 5, 2020) (denying a similar COVID-19

request as the defendant was not suffering from a serious medical condition).

       Conclusion

       For the above reasons, this Court should deny the defendant’s motion.

                                          Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2020, I electronically filed the foregoing

document with the clerk of court for the U.S. District Court, Southern District of

Texas, using the electronic case filing system of the court. I also emailed a copy to

the Defendant’s attorney, Philip Gallagher at the Federal Public Defender Service.




                                          _ s/s Steven D. Mellin________
                                          Steven D. Mellin
                                          Assistant United States Attorney




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